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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                                               )      Case No. 1:15CR00003-018
                                               )
v.                                             )      OPINION AND ORDER
                                               )
SAMUEL WAYNE ROSENBAUM,                        )      By: James P. Jones
                                               )      United States District Judge
                 Defendant.                    )

       Samuel Rosenbaum, Pro Se Movant.

       The defendant has filed a pro se motion asking for a reduction in his

sentence under Amendment 794 to the U.S. Sentencing Guideline Manual

(“USSG”). Amendment 794, effective November 1, 2015, related to USSG §

3B1.2 (Mitigating Role). The defendant was sentenced by this court on December

10, 2015.

       The defendant contends that Amendment 794 has been made retroactive and

asks this court to consider whether he is entitled to a sentence reduction. However,

Amendment 794 has been applied retroactively in a direct appeal, not a collateral

motion, as here. See United States v. Quintero-Leyva, 823 F.3d 519, 522 (9th Cir.

2016). In the absence of a direct appeal, this type of claim must be brought under

18 U.S.C. § 3582. United States v. Hunley, Nos. 7:14CR00050, 7:16CV81151,

2016 WL 4523417, at *1 (W.D. Va. Aug. 26, 2016).
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      Amendment 794 has not been designated in USSG § 1B1.10(d) by the

Sentencing Commission to apply retroactively pursuant to 18 U.S.C. § 3582(c)(2).

Accordingly, the defendant is not entitled to a modification of his sentence. His

motion (ECF No. 865) is thus DENIED.

      It is so ORDERED.



                                             ENTER: October 19, 2016

                                             /s/ James P. Jones
                                             United States District Judge




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